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Q\\% lN THE UNITED STATES DISTRICT COURT w 5 1 z l
Q FOR THE NORTHERN DISTRICT OF TEXAS ii¥i 5 5 €"
DALLAS DIVISION ,r

 

 

UNITED STATES OF AMERICA
NO. 3:15-CR-4l l-K
V.
AMECHI COLVIS AMUEGBUNAM (l)
PLEA AGREEMENT
Amechi Colvis Amuegbunam (Amuegbunam), the defendant's attorney Ezekiel

Tyson Jr., and the United States of America (the govemment) agree as folloWs:

l. Rights of the defendant: Amuegbunam understands that he has the
rights: -

a. to have the allegations set out in the Superseding Information
presented to a Grand Jury for Indictment;

b. to plead not guilty;

c. to have a trial by jury;
d. to have his guilt proven beyond a reasonable doubt;
e. to confront and cross-examine Witnesses and to call Witnesses in his

defense; and
f. against compelled self-incrimination
2. Waiver of rights and plea of guilty: Amuegbunam Waives these rights
and pleads guilty to a one count Superseding Information, charging a conspiracy to
commit Wire fraud, in violation of 18 U.S.C. § 371 (18 U.S.C. § 1343). Amuegbunam

understands the nature and elements of the crime to Which he is pleading guilty.

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He agrees that the Factual Résumé he has signed is true and understands that it will be

submitted as evidence.

3. Sentence: Statutorily, the maximum penalties the Court can impose upon

Amuegbunam’s plea of guilty include:

a. imprisonment for a period not to exceed 60 months;

b. a fine not to exceed $250,000.00, or twice any pecuniary gain to the
defendant or loss to the victim(s);

c. a term of supervised release not more than three years may follow
any term of imprisonment If Amuegbunam violates the conditions
of supervised release, he could be imprisoned for the entire term of
supervised release;

d. a mandatory special assessment of $100;

e. restitution to victims or to the community, pursuant to 18 U.S.C.

§ 3663A(c)(l)(A)(ii), and which may include restitution arising from
all relevant conduct and not limited to that arising from the offense
of conviction alone; and

f. costs of incarceration and supervision

4. Court's Sentencing Discretion and Role of the Guidelines: Amuegbunam

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. Amuegbunam has reviewed the guidelines with his attorney, but

understands no one can predict with certainty the outcome of the Court's consideration of

the guidelines in this case. Amuegbunam will not be allowed to withdraw his plea if his

sentence is higher than expected Amuegbunam fully understands that the actual sentence

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imposed (so long as it is within the statutory maximum) is solely in the discretion of the
Court.

5. Mandatory special assessment Amuegbunam agrees to pay to the U.S.
District Clerk the amount of $lO0.00, in satisfaction of the mandatory special assessment

6. Defendant's agreement Amuegbunam has and shall continue to give

complete and truthful information and/or testimony concerning his participation in the
offense of conviction Upon demand, Amuegbunam shall submit a personal financial
statement under oath and submit to interviews by the government and the U.S. Probation
Office regarding his capacity to satisfy any fines or restitution Amuegbunam expressly
authorizes the United States Attorney's Office to immediately obtain a credit report on
him in order to evaluate Amuegbunam’s ability to satisfy any financial obligation
imposed by the Court. Amuegbunam fully understands that any financial obligation
imposed by the court, including a restitution order and/or the implementation of a fine, is
due and payable immediately ~ In the event the Court imposes a schedule for payment of
restitution, Amuegbunam agrees that such a schedule represents a minimum payment
obligation and does not preclude the U.S. Attorney's Office from pursuing any other
means by which to satisfy defendant's full and immediately enforceable financial
obligation Amuegbunam understands that he has a continuing obligation to pay in full

as soon as possible any financial obligation imposed by the court.

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7. Relinquishment of Property: Amuegbunam waives and abandons any and
all right, title, claim or interest, he may have in all the property listed in Attachment A
seized from his person when he was arrested in August 2015. Amuegbunam affinnsthat
no other person has an interest in the listed property and agrees that the government may
destroy or otherwise dispose of such property, including but not limited to any and all
images, files, documents or other information that may be electronically stored on or
within the data storage devices regardless of the nature of its content, at its discretion
Amuegbunam agrees there was reasonable cause for the seizure of the subject property
and releases, holds harmless, and forever discharges the govemment, its officers, agents,
servants, and employees, its heirs, successors, or assigns, or any state or local authorities,
either in their official or individual capacities, from any and all claims, causes of action,
suits, proceedings, debts, dues, contracts, judgments, damages, and/or demands
whatsoever in law or equity that Amuegbunam and his heirs, successors, or assigns ever
had, now have, or may have in the future, in relation to the subject property,
Amuegbunam further agrees that he will not seek costs or attorney fees in connection
with the seizure, abandonment transfer, or destruction of the subject property,
Attachment A is attached to the Plea Agreement Supplement and filed under seal.

8. Government's agreement The government will not bring any additional
charges against Amuegbunam based upon the conduct underlying and related to

Amuegbunam’s plea of guilty. In addition, the Government will dismiss the original

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and Superseding Indictments at the time of sentencing The government will file a Plea
Agreement Supplement in this case, as is routinely done in every case, even though there
may or may not be any additional terms. This agreement is limited to the United States
Attorney's Office for the Northern District of Texas and does not bind any other federal,
state, or local prosecuting authorities

9. Violation of agreement Amuegbunam understands that if he violates
any provision of this agreement or if his guilty plea is vacated or withdrawn, the
government will be free from any obligations of the agreement and free to prosecute
Amuegbunam for all offenses of which it has knowledge In such event, Amuegbunam
waives any objections based upon delay in prosecution lf the plea is vacated or
withdrawn for any reason other than a finding that it was involuntary, Amuegbunam also
waives objection to the use against him of any information or statements he has provided
to the govemment, and any resulting leads.

10. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement There have been no guarantees or promises from anyone as to what

sentence the Court will impose.

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ll. Waiver of right to appeal or otherwise challenge sentence:
Amuegbunam waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to
appeal from his conviction and sentence. He further waives his right to contest his
conviction and sentence in any collateral proceeding, including proceedings under 28
U.S.C. § 2241 and 28 U.S.C. § 2255, on any ground. Amuegbunam, however, reserves
the rights (a) to bring a direct appeal of (i) a sentence exceeding the statutory maximum
punishment or (ii) an arithmetic error at sentencing, (b) to challenge the voluntariness of
his plea of guilty or this waiver, and (c) to bring a claim of ineffective assistance of
counsel.

l2. Representation of counsel: Amuegbunam has thoroughly reviewed all
legal and factual aspects of this case with his lawyer and is fully satisfied with that
lawyer’s legal representation Amuegbunam has received from his lawyer explanations
satisfactory to him concerning each paragraph of this plea agreement each of his rights
affected by this agreement and the alternatives available to him other than entering into
this agreement Amuegbunam concedes that he is guilty, and after conferring with his
lawyer, Amuegbunam has concluded that it is in his best interest to enter into this plea

agreement and all its terms, rather than to proceed to trial in this case.

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13. Entirety of agreement This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties.

Respectfully submitted,

JOHN R. PARKER
UNl;l;`ED STATES ATTORNEY

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CmrNA`§HEATH Dace
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KATHERINE MILLER Date Tel: 214-659-8600
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candina.heath@usdoj . gov

l have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

 

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AMECHI CoLvrs AMUEGBUNAM pate
Defendant

 

 

l am the defendant's counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

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